                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

RIPPY OIL COMPANY          §
Plaintiff                  §
                           §
VS.                        §                    CIVIL ACTION NO. 4:22-CV-00276
                           §
ACE AMERICAN INSURANCE     §
COMPANY, CHARTIS SPECIALTY §
INSURANCE COMPANY N/K/A    §
AIG INSURANCE CMPANY,      §
SPECIALTY INSURANCE        §
COMPANY, AND RISK          §
SPECIALISTS COMPANIES      §
INSURANCE AGENCY, INC.     §                    (JURY DEMANDED)
COMPANY)                   §
Defendants                 §

   ORDER GRANTING UNOPPOSED MOTION FOR EXTENSION OF TIME

      Upon considering Plaintiff Rippy Oil Company’s Unopposed Motion for

Extension of Time to file Response to Defendants’ Motion to Dismiss, or in the

alternative, To Transfer or Stay (Doc. 4) and Joinder in Same (Doc. 8), the Court finds

the Motion is well taken and should be granted. Therefore, Plaintiff Rippy Oil Company

is granted up to and including March 8, 2022, to file its Response to the Motion to

Dismiss, or in the alternative, To Transfer or Stay (Doc. 4) and Joinder in Same (Doc. 8).

      SIGNED at Houston, Texas, on this ________ day of February, 2022.



                                                _____________________________
                                                Honorable Kenneth Hoyt
                                                United States District Judge
